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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND
7550 Wisconsin Avenue 8th Floor
Bethesda, Maryland 20814
                                                       ECF CASE
                             Plaintiff,
                                                       No. 1:25-cv-00698
       v.

CITIBANK, N.A.,
5800 South Corporate Place
Sioux Falls, South Dakota 57108,

        and

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460,

        and

LEE ZELDIN, in his official capacity as
ADMINISTRATOR, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

                             Defendants.


     CLIMATE UNITED’S MOTION FOR TEMPORARY RESTRAINING ORDER

       Pursuant to Local Civil Rule 65.1(a), Plaintiff Climate United Fund (“Climate United”)

hereby moves for a temporary restraining order requiring Defendant Citibank, N.A. (“Citibank”)

to comply with its contractual obligations under the Account Control Agreement, including by

disbursing National Clean Investment Fund (NCIF) grant funds to which Climate United is legally

entitled, both with respect to requests that Climate United has already submitted and future
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requests, until the Court can further consider the merits. Because statements by both Citibank and

the Environmental Protection Agency (EPA)’s Administrator strongly suggest that EPA is causing

Citibank’s illegal actions, Climate United also seeks a temporary restraining order enjoining EPA

and EPA Administrator Zeldin from impeding Citibank from complying with its contractual

obligations, or otherwise causing Citibank to deny, obstruct, delay, or otherwise prevent Climate

United from accessing its grant funds as provided for under the Account Control Agreement, the

grant award, and applicable law. Climate United also seeks a temporary restraining order enjoining

EPA and EPA Administrator Zeldin from unlawfully suspending or terminating Climate United’s

grant award, except as is permitted in accordance with the Account Control Agreement, the grant

award, and applicable law.

       As set forth in more detail in the accompanying Memorandum of Law, Climate United has

a strong likelihood of success on its claims against Citibank for breach of contract. Climate United

also has a strong likelihood of success on its claims that EPA’s actions are arbitrary and capricious,

an abuse of discretion, or otherwise not in accordance with law under the Administrative Procedure

Act, and that EPA’s actions violate Climate United’s right to due process. Defendants’ conduct

threatens Climate United with imminent irreparable injury. That injury outweighs any benefit

gained by Defendants. The public interest is best served by requiring Citibank and EPA to comply

with the Account Control Agreement, the grant award, and applicable law.

       Pursuant to Local Civil Rule 65.1(a), on March 8, 2025, Counsel for Climate United

emailed Defendants or their representatives to provide a copy of the complaint filed on March 8,

2025, and to provide notice that they would be filing a motion for a temporary restraining order




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on March 10, 2025, with respect to Climate United’s NCIF grant. 1 Contemporaneously with filing

this Motion for Temporary Restraining Order, Counsel for Climate United emailed Defendants or

their representatives the motion and accompanying brief, declaration, exhibits and proposed order

at the following email addresses:

        K. Winn Allen, Counsel for Citibank
        Winn.Allen@kirkland.com

        Lee Zeldin, Administrator, EPA
        Zeldin.Lee@epa.gov

        Eric J. Hamilton, Deputy Assistant Attorney General, Federal Programs Branch, DOJ
        Eric.hamilton@usdoj.gov

        Alex Haas, Co-Director, Federal Programs Branch, DOJ
        Alex.haas@usdoj.gov

        John Griffiths, Co-Director, Federal Programs Branch, DOJ
        John.griffiths@usdoj.gov

        In addition, Counsel for Climate United submitted via Overnight Mail copies of the

Complaint, Motion for Temporary Restraining Order, and accompanying brief, declaration,

exhibits, and proposed order to the following entities contemporaneously with completing this

electronic filing:

        KIRKLAND & ELLIS LLP
        Attn: Winn Allen
        1301 Pennsylvania Avenue, N.W.
        Washington, D.C. 20004

        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
        Attn: Lee Zeldin
        1200 Pennsylvania Avenue, N.W.
        Washington, D.C. 20460



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  Counsel for Climate United submitted the March 8 email message to Sunil Garg at
sunil.garg@citi.com and Brent McIntosh at brent.mcintosh@citi.com. K. Winn Allen informed
counsel for Climate United on Sunday, March 9, 2025 that he is representing Citibank in this
matter.
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      ATTORNEY GENERAL OF THE UNITED STATES
      Panela Bondi
      U.S. Department of Justice
      950 Pennsylvania Avenue, N.W.
      Washington, D.C. 20530

      UNITED STATES ATTORNEY FOR THE DISTRICT OF COLUMBIA
      Edward R. Martin Jr.
      c/o Civil Process Clerk
      601 D. Street, N.W.
      Washington, D.C. 20201


Dated: March 10, 2025                           Respectfully submitted:

                                                /s/ Adam G. Unikowsky

Gabriel K. Gillett (pro hac vice forthcoming)       Adam G. Unikowsky (989053)
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                                                    * Application to Court pending.

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                                                    Attorneys for Plaintiff Climate United Fund




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2025, I filed the foregoing document with the Clerk of

Court for the United States District Court for the District of Columbia using the court’s CM/ECF

filing system.

       Further, I hereby certify that I have provided notice of this lawsuit by submitting via email

message the foregoing document to the following recipients:

       K. Winn Allen, Counsel for Citibank
       Winn.Allen@kirkland.com

       Lee Zeldin, Administrator, EPA
       Zeldin.Lee@epa.gov

       Eric J. Hamilton, Deputy Assistant Attorney General, Federal Programs Branch, DOJ
       Eric.hamilton@usdoj.gov

       Alex Haas, Co-Director, Federal Programs Branch, DOJ
       Alex.haas@usdoj.gov

       John Griffiths, Co-Director, Federal Programs Branch, DOJ
       John.griffiths@usdoj.gov

       In addition, I hereby certify that I have provided notice of this filing by submitting the

foregoing document to the following entities at the addresses listed via Overnight Mail:

       KIRKLAND & ELLIS LLP
       Attn: Winn Allen
       1301 Pennsylvania Avenue, N.W.,
       Washington, D.C. 20004

       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
       Attn: Lee Zeldin
       1200 Pennsylvania Avenue, N.W.
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